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                    8                                   UNITED STATES DISTRICT COURT
                    9                             DISTRICT OF NEVADA, SOUTHERN DIVISION
                   10                                                      ***
                   11 YUNA CHOI, an individual;                               CASE NO.: 2:20-cv-1329-RFB-VCF
                   12                      Plaintiff,
                                                                              STIPULATION AND ORDER TO
                   13             vs.                                         EXTEND DISCOVERY DEADLINES
                   14 STATE FARM MUTUAL AUTOMOBILE                            [FOURTH REQUEST]
                      INSURANCE COMPANY, an Illinois
                   15 corporation; DOES I through X; and ROE
                      CORPORATIONS I through X;
                   16
                                    Defendants.
                   17

                   18            Pursuant to LR 6-1 and LR 26-3, the parties, by and through their respective counsel of
                   19 record, hereby stipulate and request that this Court extend discovery in the above-captioned case

                   20 ninety (90) days, up to and including Tuesday, February 22, 2022. In addition, the parties request

                   21 that the all other future deadlines contemplated by the Discovery Plan and Scheduling Order be

                   22 extended pursuant to Local Rule. In support of this Stipulation and Request, the parties state as

                   23 follows:

                   24            1.        On March 27, 2020, Plaintiff filed her Complaint in the Clark County District
                   25                      Court, Nevada.
                   26            2.        On June 10, 2020, Plaintiff served the Complaint on the Nevada Department of
                   27                      Business and Industry, Division of Insurance.
                   28
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                    1            3.        On July 17, 2020, Defendant filed its Petition for Removal.

                    2            4.        On July 30, 2020, Defendant filed its Answer to Complaint (pursuant to stipulation

                    3                      extension (ECF No. 7)).

                    4            5.        On August 19, 2020, the parties conducted an initial FRCP 26(f) conference

                    5            6.        On September 2, 2020, the Court entered the Stipulated Discovery Order.

                    6            7.        On September 30, 2021, Defendant served its FRCP 26 Initial Disclosures on

                    7                      Plaintiff.

                    8            8.        On October 23, 2020, Plaintiff served her FRCP 26 Initial Disclosures on

                    9                      Defendant.

                   10            9.        On November 19, 2020, Defendant served written discovery on Plaintiff. Plaintiff

                   11                      served her responses on December 30, 2020.

                   12            10.       On November 24, 2020, Plaintiff served written discovery on Defendant.

                   13                      Defendant served its responses on January 6, 2021.

                   14            11.       On December 30, 2020, Plaintiff served her first supplement to her FRCP 26

                   15                      Disclosures.

                   16            12.       On March 29, 2021, Counsel conferred regarding tentative deposition topics for an

                   17                      FRCP 30(b)(6) witness deposition of Defendant.

                   18            13.       On March 31, 2021, Defendant noticed its intent to serve records subpoenas on

                   19                      Plaintiff’s treatment providers and employer.

                   20            14.       On April 14, 2021, Defendant deposed Plaintiff.

                   21            15.       On April 14, 2021, Defendant re-noticed its intent to serve records subpoenas on

                   22                      Plaintiff’s treatment providers and employer, as an administrative oversight caused

                   23                      the subpoenas not to have been served after Defendant noticed its intent to serve

                   24                      them on March 31, 2021.

                   25            16.       On May 14, 2021, Defendant served a supplement to its FRCP 26 Initial

                   26                      Disclosures containing medical records and bills it had received as a result of its

                   27                      records subpoenas.

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                    1            17.        On August 16, 2021, Defendant served its second supplement to its FRCP 26 Initial

                    2                       Disclosures.

                    3            18.        On August 31, 2021, Plaintiff underwent an Independent Medical Examination /

                    4                       Rule 35 Examination pursuant to the terms and conditions of her subject car policy

                    5                       with State Farm. This had been previously set for late July, but the provider had an

                    6                       unanticipated scheduling issue and the examination had to be postponed.

                    7            19.        On September 27, 2021, Defendant served its third supplement to its FRCP 26

                    8                       Initial Disclosures.

                    9            20.        On September 27, 2021, Defendant served its Designation of Expert Witness.

                   10            21.        On October 12, 2021, served its fourth supplement to its FRCP 26 Initial

                   11                       Disclosures.

                   12            22.        On October 21, 2021, Defendant served its first supplement to Designation of

                   13                       Expert Witness.

                   14            23.        On November 9, 2021, Defendant served its fifth supplement to its FRCP 26 Initial

                   15                       Disclosures, which included almost 7,000 pages of documents and over a terabyte

                   16                       of data.

                   17                                              DISCOVERY REMAINING

                   18            1.         The parties will continue participating in written discovery.
                   19            2.         Plaintiff will take the deposition of Defendant’s FRCP 30(b)(6) witness and/or the
                   20                       claims specialist.
                   21            4.         The parties may take the depositions of any and all other witnesses garnered
                   22                       through discovery.
                   23            5.         The parties will designate initial expert witnesses.
                   24            6.         The parties may designate rebuttal expert witnesses.
                   25            7.         The parties may depose expert witnesses.
                   26                      WHY REMAINING DISCOVERY HAS NOT BEEN COMPLETED
                   27            The parties aver, pursuant to Local Rule 26-3, that good cause exists for the following
                   28 requested extension. This Request for an extension of time is not sought for any improper purpose
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                    1 or other purpose of delay. Rather, it is sought by the parties solely for the purpose of allowing

                    2 sufficient time to conduct discovery.

                    3            The parties seek additional time to complete discovery for several reasons, none of which

                    4 are for an improper purpose or for the purpose of delay. Primarily, the parties have encountered

                    5 scheduling issues as to Plaintiff’s deposition of Defendant’s FRCP 30(b)(6) witness.             First,

                    6 Defendant’s production of claim handling guidelines (produced pursuant to the parties’ stipulated

                    7 protective order) took longer than anticipated. These documents are voluminous – almost 7,000

                    8 pages – and comprise over a terabyte of data. With Defendant-employees continuing to work

                    9 remotely and certain of defense counsel’s employees working remotely, these production

                   10 processes has been unusually time-consuming. Thus, to afford Plaintiff’s counsel sufficient time

                   11 to review these documents, the parties believe the FRCP 30(b)(6) witness deposition must be

                   12 postponed. Second, defense counsel’s staffing resources underwent an unexpected shift as a

                   13 senior partner announced their departure, and the undersigned will be assuming their case load.

                   14 As such, defense counsel requires this extension to accommodate a very sudden doubling of cases,

                   15 all of which are in various stages of active litigation. Thus, additional time is necessary to

                   16 adequately prepare the FRCP 30(b)(6) deposition. As this FRCP 30(b)(6) witness testimony

                   17 pertains to Defendant’s handling of the subject UIM claim, said deposition needs to occur

                   18 sufficiently in advance of the expert designation deadlines. Accordingly, the parties request an

                   19 extension of the current discovery deadlines to allow the parties an opportunity to develop in full

                   20 their respective cases in chief.

                   21            Extension or Modification of The Discovery Plan and Scheduling Order. LR 26-3 governs

                   22 modifications or extension of the Discovery Plan and Scheduling Order. Any stipulation or

                   23 motion to extend or modify that Discovery Plan and Scheduling Order must be made no later than

                   24 twenty-one (21) days before the expiration of the subject deadline and must comply fully with LR

                   25 26-3.

                   26            This is the fourth request for extension of time in this matter. The parties respectfully
                   27 submit that the reasons set forth above constitute compelling reasons for the short extension.

                   28            The following is a list of the current discovery deadlines and the parties’ proposed
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                    1 extended deadlines:

                    2
                              Scheduled Event              Current Deadline           Proposed Deadline
                    3
                           Discovery Cut-off      Monday, February 7, 2022      Monday, May 9, 2022
                    4
                           Deadline to Amend      Closed                        Closed
                    5      Pleadings or Add
                           Parties
                    6
                           Expert Disclosure      Monday December 13, 2021      Monday, March 14, 2022
                    7      pursuant to FRCP26
                           (a)(2)
                    8
                           Rebuttal Expert        Wednesday, January 12, 2022   Tuesday, April 12, 2022
                    9      Disclosure pursuant to
                           FRCP. 26(a)(2)
                   10
                           Dispositive Motions    Monday, March 14, 2022        Monday, June 13, 2022
                   11
                           Joint Pretrial Order   Monday, April 11, 2022        Monday July 11, 2022
                   12
                                                                                (If dispositive motions are filed,
                   13                                                           the deadline for filing the joint
                                                                                pretrial order will be suspended
                   14                                                           until 30 days after decision on
                                                                                the dispositive motions or further
                   15                                                           court order.)

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                    1              WHEREFORE, the parties respectfully request that this Court extend the discovery

                    2 period by ninety (90) days from the current deadline of February 7, 2022 up to and including May

                    3 9, 2022 and the other dates as outlined in accordance with the table above.

                    4    DATED this 9th day of November, 2021.             DATED this 9th day of November, 2021.
                    5
                         LEWIS BRISBOIS BISGAARD & SMITH LLP               MARKMAN LAW
                    6
                         /s/ Cheryl A. Grames                              /s/ David A. Markman
                    7    ROBERT W. FREEMAN                                 DAVID A. MARKMAN
                         Nevada Bar No. 3062                               Nevada Bar No. 12440
                    8    CHERYL A. GRAMES                                  4484 S. Pecos Rd., Ste. 140
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                    9
                         6385 S. Rainbow Boulevard, Suite 600              Attorneys for Plaintiff YUNA CHOI
                   10    Las Vegas, Nevada 89118
                         Attorneys for Defendant STATE FARM
                   11    MUTUAL AUTOMOBILE INSURANCE
                         COMPANY
                   12

                   13                                                ORDER
                   14            IT IS SO ORDERED:
                   15
                                                          November
                                             10th day of _____________, 2021.
                   16            Dated this _____

                   17
                                                            ______________________________________
                                                                 __________________
                                                                                 _________
                   18                                       UNITED STATES MAGISTRATE JUDGE
                   19

                   20

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